                                                                                                                           Case 2:05-cv-00881-JAM-DAD Document 89 Filed 04/02/13 Page 1 of 4


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                                                                                                                      18
                                                                                                                                                          UNITED STATES DISTRICT COURT
                                                                                                                      19
                                                                                                                                                         EASTERN DISTRICT OF CALIFORNIA
                                                                                                                      20

                                                                                                                      21
                                                                                                                           ANDREW WASHINGTON, JR., A                    Case No. 05-CV-00881 JAM-DAD
                                                                                                                      22   MINOR, INDIVIDUALLY IN HIS
                                                                                                                           PERSONAL CAPACITY AND AS                     STIPULATION AND
                                                                                                                      23   SUCCESSOR IN INTEREST OF                     ORDER TO CONSOLIDATE
                                                                                                                           DECEDENT ANDREW WASHINGTON,                  RELATED CASES – FRCP 42
                                                                                                                      24   SR., BY AND THROUGH HIS
                                                                                                                           GUARDIAN AD LITEM, ALEJANDRA
                                                                                                                      25   RAYA,
                                                                                                                      26                   Plaintiff,
                                                                                                                      27           vs.
                                                                                                                      28
                                                                                                                           STIPULATION AND ORDER TO CONSOLIDATE
                                                                                                                           RELATED CASES - 05-CV-00881 JAM-DAD AND
                                                                                                                           06-CV-00549 JAM-DAD
                                                                                                                           Case 2:05-cv-00881-JAM-DAD Document 89 Filed 04/02/13 Page 2 of 4


                                                                                                                       1   TASER INTERNATIONAL, INC.; CITY
                                                                                                                           OF VALLEJO; et al., ,
                                                                                                                       2
                                                                                                                                           Defendants.
                                                                                                                       3

                                                                                                                       4   LORI BAUER, INDIVIDUALLY, AND                      Case No. 06-CV-00549 JAM-DAD
                                                                                                                           AS PERSONAL REPRESENTATIVE OF
                                                                                                                       5   THE ESTATE OF ANDREW
                                                                                                                           WASHINGTON,
                                                                                                                       6
                                                                                                                                           Plaintiff,
                                                                                                                       7
                                                                                                                                   vs.
                                                                                                                       8
McNA MA RA, N EY, B EA TTY , SLAT TE RY, B ORG ES & A MBA CH ER L LP




                                                                                                                           CITY OF VALLEJO, A MUNICIPAL
                                                                                                                       9   CORPORATION, et al.,
                                                                                                                      10                   Defendants.
                                                                       1211 NEWELL AVEN UE, WAL NUT CREEK, CA 94596




                                                                                                                      11

                                                                                                                      12           IT IS HEREBY STIPULATED AND AGREED, by and between the parties to this action,
                                                                                TELEPHONE: (925) 939-5330
                                                                                   ATTORNEY S AT LA W




                                                                                                                      13   through their respective counsel of record, as follows:

                                                                                                                      14           WHEREAS this Court issued a Related Case Order for the concurrently pending civil

                                                                                                                      15   actions (Washington) 05-CV-00881 JAM-DAD and (Bauer) 06-CV-00549 JAM-DAD.                       The

                                                                                                                      16   Court reasoned that “the assignment of the matters to the same judge and magistrate judge is

                                                                                                                      17   likely to affect a substantial savings of judicial effort and is also likely to be convenient for the

                                                                                                                      18   parties.” (See Related Case Order, signed by Hon. District Court Judge John A. Mendez on

                                                                                                                      19   March 21, 2013, Document 87 (Washington) and Document 44 (Bauer)).

                                                                                                                      20           WHEREAS the parties agree and hereby stipulate to consolidate both actions under FRCP

                                                                                                                      21   42(a) for the purposes of remaining discovery, pretrial and trial, in other words, for all purposes.

                                                                                                                      22   Good cause for a consolidation of both actions exists because both cases involve the same parties,

                                                                                                                      23   the same or similar claims, the same death related event, the same witnesses, same or similar

                                                                                                                      24   experts, the same or similar evidence and the same or similar questions of fact and law, as set

                                                                                                                      25   forth below. Thus, a consolidation of both cases for remaining discovery, pretrial and trial, in

                                                                                                                      26   other words, for all purposes, will likely effect a savings of judicial effort and other economics

                                                                                                                      27   and will avoid unjust and different outcomes related to the same alleged wrongful death incident.

                                                                                                                      28           WHEREAS both cases involve the same event, the death of Andrew Washington on
                                                                                                                           STIPULATION AND ORDER TO CONSOLIDATE     2
                                                                                                                           RELATED CASES - 05-CV-00881 JAM-DAD AND
                                                                                                                           06-CV-00549 JAM-DAD
                                                                                                                           Case 2:05-cv-00881-JAM-DAD Document 89 Filed 04/02/13 Page 3 of 4


                                                                                                                       1   September 16, 2004. The City of Vallejo, Jeremie Patzer, and Robert Nichelini are named

                                                                                                                       2   Defendants in both cases. In addition, City of Vallejo’s Police Officers Tom Liddicoet and David

                                                                                                                       3   Jackson are named in the Bauer action. The plaintiff in the Washington action is the minor son of

                                                                                                                       4   the decedent, whereas the plaintiff in the Bauer case is the decedent’s mother. The claims

                                                                                                                       5   asserted in both cases are similar as they all arise out of the same incident, namely the alleged

                                                                                                                       6   wrongful death of the decedent arising out of his contact with the City of Vallejo police officers

                                                                                                                       7   on September 16, 2004. All in all, the trial of these two cases will likely be almost identical,

                                                                                                                       8   involving the same or similar parties, witnesses, evidence, experts and overlapping claims. As
McNA MA RA, N EY, B EA TTY , SLAT TE RY, B ORG ES & A MBA CH ER L LP




                                                                                                                       9   such, these two cases should be consolidated for all purposes.
                                                                                                                      10           WHEREAS consolidating both cases is also warranted to avoid inconsistent orders,
                                                                       1211 NEWELL AVEN UE, WAL NUT CREEK, CA 94596




                                                                                                                      11   judgments and/or trial outcomes. As both cases involve the same questions of fact and law, they
                                                                                                                      12   should yield the same result.        Plaintiffs in both cases claim damages against the Vallejo
                                                                                TELEPHONE: (925) 939-5330
                                                                                   ATTORNEY S AT LA W




                                                                                                                      13   Defendants for the wrongful death of Andrew Washington on September 16, 2004. The factual
                                                                                                                      14   issues in both cases will be identical. The legal questions in both cases will be practically
                                                                                                                      15   identical, with some minor differences due to the fact that one Plaintiff is the son of the Decedent
                                                                                                                      16   and one is the mother. The overlap in factual and legal issues will be substantial, if not identical.
                                                                                                                      17   Trying both cases in separate trials and/or deciding both cases in relation to separately filed
                                                                                                                      18   motions for summary judgment would not only entail substantial duplication of labor, but more
                                                                                                                      19   importantly, there would be a substantial risk of inconsistent orders, judgments and/or trial
                                                                                                                      20   outcomes. Furthermore, while each plaintiff maintains his or her own personal and separate

                                                                                                                      21   cause of action, a wrongful death action is generally considered joint, single and indivisible. All

                                                                                                                      22   heirs should join in a single action (the so called “one action rule”). San Diego Gas & Elec. Co.

                                                                                                                      23   v. Superior Court (2007) 146 Cal.App.4th 1545, 1551 (emphasis added).

                                                                                                                      24

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                                                                                                                      28           ///
                                                                                                                           STIPULATION AND ORDER TO CONSOLIDATE             3
                                                                                                                           RELATED CASES - 05-CV-00881 JAM-DAD AND
                                                                                                                           06-CV-00549 JAM-DAD
                                                                                                                           Case 2:05-cv-00881-JAM-DAD Document 89 Filed 04/02/13 Page 4 of 4


                                                                                                                       1           THEREFORE the parties agree and hereby stipulate to consolidate both cases under

                                                                                                                       2   FRCP 42(a) for remaining discovery, pretrial and trial purposes, in other words, for all purposes.

                                                                                                                       3           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

                                                                                                                       4   DATED: March 28, 2013                     CASPER, MEADOWS, SCHWARTZ & COOK
                                                                                                                       5
                                                                                                                                                                     By: /s/
                                                                                                                       6                                                ANDREW C. SCHWARTZ
                                                                                                                                                                        JOHN C. BURTON
                                                                                                                       7                                                MARK E. MERIN
                                                                                                                                                                        Attorneys for Plaintiff
                                                                                                                       8                                                ANDREW WASHINGTON, JR.
McNA MA RA, N EY, B EA TTY , SLAT TE RY, B ORG ES & A MBA CH ER L LP




                                                                                                                       9
                                                                                                                           Dated: March 28, 2013                     LAW OFFICES OF JOHN L. BURRIS
                                                                                                                      10
                                                                       1211 NEWELL AVEN UE, WAL NUT CREEK, CA 94596




                                                                                                                      11                                             By: /s/
                                                                                                                                                                         John L. Burris, Esq.
                                                                                                                      12                                                 Benjamin Nisenbaum, Esq.
                                                                                TELEPHONE: (925) 939-5330




                                                                                                                                                                         Attorneys for Plaintiff Lori Bauer
                                                                                   ATTORNEY S AT LA W




                                                                                                                      13
                                                                                                                           Dated: March 27, 2013                     MCNAMARA, NEY, BEATTY, SLATTERY,
                                                                                                                      14                                             BORGES & AMBACHER LLP

                                                                                                                      15                                             By:      /s/ Noah G. Blechman _______
                                                                                                                                                                           James V. Fitzgerald, III
                                                                                                                      16                                                   Noah G. Blechman
                                                                                                                                                                           Petra Bruggisser
                                                                                                                      17                                                   Attorneys for Defendants (both cases)
                                                                                                                      18                                                     ORDER

                                                                                                                      19           Good cause having been shown by the parties, the Court hereby orders that the civil

                                                                                                                      20   actions (Washington) 05-CV-00881 JAM-DAD and (Bauer) 06-CV-00549 JAM-DAD are

                                                                                                                      21   hereby ordered CONSOLIDATED for all purposes per FRCP 42 (a). The earlier filed case,

                                                                                                                      22   (Washington) 05-CV-00881 JAM-DAD, shall be the leading case. The caption on documents

                                                                                                                      23   filed in the consolidated cases shall be shown as 2:05-CV-00881 JAM-DAD.

                                                                                                                      24           IT IS SO ORDERED.

                                                                                                                      25

                                                                                                                      26   Dated: April 2, 2013
                                                                                                                                                                                     /s/ John A. Mendez____________
                                                                                                                      27                                                             Honorable John A. Mendez
                                                                                                                                                                                     United States District Court Judge
                                                                                                                      28
                                                                                                                           STIPULATION AND ORDER TO CONSOLIDATE                 4
                                                                                                                           RELATED CASES - 05-CV-00881 JAM-DAD AND
                                                                                                                           06-CV-00549 JAM-DAD
